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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


LAURIE BROWN; OLUWAKEMI FOSUDO;
and ABIGAIL MUSICK                                                              PLAINTIFFS

v.                               CASE NO. 5:24-CV-5144

WALMART, INC.                                                                  DEFENDANT


                             INITIAL SCHEDULING ORDER


       IT IS HEREBY ORDERED that the following dates, deadlines, and procedures shall

govern the initial proceedings in this matter:

              1.     The Case Management Hearing is set for JANUARY 9, 2025, at

       1:30 pm in the fifth floor courtroom in Fayetteville.1

              This hearing will be the scheduling conference contemplated by Fed. R. Civ.

       P. 16(b)(1)(B). The purpose of this conference is to assess the pretrial needs of the

       case and to assist the Court in crafting an appropriately tailored Case Management

       Order. Counsel should be prepared to identify and discuss all genuinely disputed

       issues of fact and law and the matters set forth in the parties’ Rule 26(f) Report. The

       Court will also hear argument on any pending motions which may be ripe for

       consideration.




1
 Out of area attorneys may request in writing (via email - tlbinfo@arwd.uscourts.gov) to
participate via Zoom or Teams if they so choose.
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      2.     The parties shall jointly conduct a Rule 26(f) Conference by no later than

NOVEMBER 25, 2024.

             In preparation for the parties’ conference, Counsel should confer with their

      respective clients as soon as possible to assess the nature, scope, and accessibility

      of the information and documents subject to timely disclose pursuant to Rule

      26(a)(1). In addition to the informational and descriptive disclosures required by

      Rule 26(a)(1), the parties must discuss and are strongly encouraged to agree

      upon the early identification and actual production (or inspection) of

      documents—instead of waiting for formal discovery requests.              Ideally, any

      documents that are central to the parties’ claims, damages, and defenses, should

      be provided with the “Initial Disclosures.”

             During the parties’ Rule 26(f) conference, the discussions should focus on:

                    (1)    The types and scope of discovery and the length of time
                           necessary to complete it;

                    (2)    Applicable topics and items set forth at Rule 26(f)(2) and (3);

                    (3)    Other matters necessary to prepare the Joint Rule 26(f) Report
                           and attachments;

                    (4)    Counsel’s respective expectations as to the scope and
                           categorical content of the information and documents to be
                           provided or inspected as part of the required Initial Disclosures;
                           and

                    (5)    The identification of the core discovery documents reasonably
                           capable of production with the required Initial Disclosures, as
                           well as the scope, logistics, feasibility, and timing of such
                           production.


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                     (6)    Whether the parties will mutually consent to Magistrate Judge
                            jurisdiction. If agreed, the matter would be assigned for all
                            purposes, including trial, to a Magistrate Judge.

       3.     The parties shall jointly prepare and file a Rule 26(f) Report by no later

than DECEMBER 9, 2024. DO NOT USE the report outline contemplated by Local

Rule 26.1.     Instead, the parties must use the outline and format found at

http://www.arwd.uscourts.gov/judge-brooks-forms.

       4.     Each party shall make their Initial Disclosures as required by Fed. R.

Civ. P. 26(a)(1)—and produce core discovery documents as agreed—by no later than

DECEMBER 16, 2024.

              Ordinarily, the fact that a dispositive motion is pending does not excuse the

       obligation to provide mandatory disclosures pursuant to Rule 26(a)(1). However,

       where reasonable and appropriate, a party may object to making Initial Disclosures

       pursuant to Rule 26(a)(1)(C), and any such objections will be addressed during the

       Case Management Hearing.2 In the absence of an appropriate objection, the Court

       expects the parties to provide all responsive disclosures and complete any agreed

       document production by no later than the specified deadline.3            Any alleged

       deficiencies and/or the need for supplemental disclosures should be brought to the

       Court’s attention prior to or during the Case Management Hearing.




2
 An appropriate objection as to any particular required disclosure shall not relieve the party
from providing disclosures as to non-objectionable matters.
3
 Upon advance written request–for good cause shown–the Court may extend the deadline
for required and/or agreed document productions.

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       5.     The Trial Date will be set during the Case Management Hearing.

       The parties should discuss and realistically assess the amount of time reasonably

necessary to complete discovery, as this is the Court’s main consideration when setting

the trial term and other case management deadlines. The Court will typically adopt the

parties’ reasonable and mutually agreed length of discovery—with the understanding that

the trial date set during the Case Management Hearing is “firm” and no continuances will

be granted absent extraordinary good cause. During the Case Management Hearing, the

Court will discuss setting the case for trial to a term that is (approximately) four months

after the established discovery deadline. Counsel should also discuss and determine a

consensus estimate of how long the trial will last.         Counsel attending the Case

Management Hearing must be authorized to discuss and commit to scheduling deadlines

and trial dates. Any conflicts or objections to the Court’s proposed trial dates must be

made known at that time. Counsel should bring their calendars and any other information

necessary to determine conflicts with proposed trial dates.

       6.     Commencement of Discovery.             The parties may commence formal

discovery in accordance with the Rules. See Fed.R.Civ.P. 26(d).

       7.     No Waiver of Privilege. Pursuant to Fed. R. Evid. 502(d), the Court hereby

orders that any inadvertent disclosure of privileged information or documentation in

response to any discovery production, including Rule 26(a)(1) disclosures and agreed

document productions, shall not constitute a waiver of any applicable privileges in this

case, or in any other case or respect. The purpose of this provision is to reduce the




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concern of a party that it must conduct exhaustive and expensive pre-production review

of information/documents prior to producing the same.

      8.     Motions. Counsel must be prepared to argue any motions–dispositive or

otherwise–that become ripe for consideration on or before the Case Management Hearing.

      IT IS SO ORDERED this 4th day of November, 2024.


                                          /s/ Timothy L. Brooks
                                       TIMOTHY L. BROOKS
                                       UNITED STATES DISTRICT JUDGE




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